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                            IN T H E UNITED STATES DISTRICT COURT
                          F O R T H E NORTHERN DISTRICT O F G E O R G I A
                                        ATLANTA DIVISION




             IN R E :

             CASES ASSIGNED TO
             JUDGE RICHARD W. STORY




                        STANDING ORDER REGARDING C I V I L L I T I G A T I O N

                   This case has been assigned to Judge Richard W. Story. The puipose of

             this Order is to inform the parties and their counsel of the Court's policies,

             procedures, and practices. It is issued to promote the just and efficient

             determination ofthe case. This Order, in combination with this Court's Local

             Rules and the Federal Rules of Civil Procedure, shall govern this case.




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I.     CASE ADMINISTRATION

      a.      Contacting Chambers

       Stacey Kemp, the Courtroom Deputy Clerk, is your principal point of

contact on matters related to this case. Where possible, communications

with Ms. Kemp should be by telephone. Please note that Ms. Kemp is often in

the courtroom, so telephone messages may not be returned for 24 hours. The

contact information for Ms. Kemp is as follows:

      Ms. Stacey Kemp
      Couilroom Deputy Clerk
      2121United States Courthouse
      75 Ted Turner Dr., SW
      Atlanta, GA 30303-3309
      (404)215-1349

       Stacey_Kemp@gand.uscourts.gov

Neither the parties nor their counsel should discuss the merits of the case with

Ms. Kemp or any of the Court's law clerks.

       b.     Transcripts

       Communications regarding transcripts should be directed to the Official

Court Reporter, Amanda Lohnaas, at Amanda_Lohnaas(^gand.uscourts.gov or

(404) 215-1546. I f any party desires daily copy or rough draft copy of a

proceeding, that party must contact Ms. Lohnaas at least two weeks before the

proceeding.
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      c.     Pro Se Litigants

      Parties proceeding pro se (witiiout an attorney) are advised that they

must comply with the Federal Rules of Civil Procedure ("Fed. R. Civ. P."), as

well as the Local Rules of the United States District Court for the Northern

District of Georgia ("LR, NDGa"). Pro se parties may obtain certain basic

materials and hand-outs from the Office of the Clerk of Court ("Clerk's

Office") located on the 22"'' Floor ofthe United States Courthouse, 75 Ted

Tumer Dr., SW, Atlanta, Georgia. Many documents are also available on the

Court's website at www.gand.uscourts.gov. Pro se litigants may also utilize

the law library located on the 23'''' floor of the United States Courthouse.

      Counsel and parties representing themselves are prohibited from

engaging in ex parte communications with the Court or the Court's staff. ''Ex

parte communications" mean any forai of contact with the Court outside the

presence of the opposing party or opposing party's counsel. This includes, but

is not limited to telephone calls, written correspondence, or in-person contact

by one party or party's counsel. I f counsel or a pro se litigant seeks court

action, the appropriate procedure is to put the request in writing, in the form of

a motion, file the motion with the Clerk's Office, and serve the opposing party

or party's counsel. See FED. R. CiV. P. 5; LR 5.1-5.2, NDGa; see also LR 7.4,

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NDGa ("Communications to judges seeldng a ruling or order, including an

extension of time, shall be by motion and not by letter. A letter seeking such

action ordinarily will not be treated as a motion.").

      The Clerk of Court and the U.S. Marshals Service will not serve

documents filed by either party, unless expressly directed to do so by the Court.

The Court will only direct the Clerk or the U.S. Marshals Service to serve in

the following instances: (1) in the event a plaintiff is granted leave to proceed

in forma pauperis (without pre-payment of fees) and survives a frivolity

review, the Court will direct the Clerk to prepare (and deliver to the U.S.

Marshals Service i f necessary) a service package containing the case initiating

document(s), or (2) in exceptional circumstances under the Court's discretion.

The National Association of Professional Process Servers provides a search

engine for locating process servers across the nation at its website

(www.napp s. org).

      A pro se plaintiffis (1) to provide the Clerk with an original of any

further pleadings or other papers filed with the Court after the Complaint, and

(2) is ftirther R E Q U I R E D to S E R V E upon the defendant(s) or counsel for the

defendant(s) by mail or by hand delivery under Rule 5 of the Federal Rules of

Civil Procedure, a copy of every additional pleading or other paper described in

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Rule 5 of the Federal Rules of Civil Procedure.

      Each pleading or paper described in Rule 5, including pleadings, papers

related to discovery required to be served, motions, notices, and similar papers,

shall include a certificate stating the date on which an accurate copy of that

pleading or document was mailed or hand-delivered to the defendants or their

counsel. The Court shall disregard any papers submitted which have not been

properly filed with the Clerk or which do not include a certificate of service.

      Pro se parties are further REQUIRED to keep the Court advised of their

current address at all times during the pendency of the lawsuit. Local Rule

83.1(D)(3) provides that counsel and parties appearing pro se have, in all cases,

a duty to notify the Clerk's Office by letter of any change in address and/or

telephone number. Per this rule, "[a] failure to keep the clerk's office so

informed which causes a delay or otherwise adversely affects the management

of a civil case shall constitute grounds for dismissal without prejudice or entry

of a judgment by default."

      d.     Courtesy Copies

      Parties frequently forward copies of motions or other filings directly to

chambers for the Court's convenience. Courtesy copies are not required,

except for emergency motions filed pursuant to Local Rule 7.2(B), and motions

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for temporary restraining orders and/or preliminary injunctions. Courtesy

copies of motions for summary judgment that have voluminous exhibits may

be submitted to chambers. Courtesy copies of such emergency motions,

motions for temporary restraining orders, and/or motions for preliminary

injunctions should be hand-delivered to chambers in Room 2121 on the 21'*

floor of the Richard B. Russell Federal Building. Courtesy copies of motions

for sunmiary judgment that have voluminous exhibits may be either hand-

delivered to chambers in Room 2121 or submitted via regular mail to the

attention of the Courtroom Deputy Clerk at the address provided above,

        e.    Proposed Orders

       For all consent, unopposed, or joint motions, the filing party shall

include therewith a proposed order granting the motion.

II.     CASE MANAGEMENT

        a.    Conferences

        Scheduling, discovery, pretrial, and settlement conferences promote the

speedy, just, and efficient resolution of cases. Therefore, the Court encourages

the parties to request a conference with the Court when counsel believes that a

conference will be helpful and counsel has specific goals and an agenda for the

conference. Conferences may be requested by contacting Ms. ICemp.

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      b.     Discovery

             i.     Discovery Responses-Boilerplate and General
                    Objections

      Boilerplate objections in response to discovery requests are strictly

prohibited. Parties should not carelessly invoke the usual litany of rote

objections; i.e., attorney-client privilege, work-product immunity from

discovery, overly broad/unduly burdensome, irrelevant, not reasonably

calculated to lead to the discovery of admissible evidence.

      Moreover, general objections are prohibited; i.e., a party shall not

include in a response to a discovery request a "Preamble" or a "General

Objections" section stating that the party objects to the discovery request "to

the extent that" it violates some rule pertaining to discovery; e.g., attorney-

client privilege, work-product immunity from discovery, and the prohibition

against discovery requests that are vague, ambiguous, overly broad, or unduly

burdensome. Instead, each individual discovery response must be met with

every specific objection thereto—but only those objections that actually apply

to that particular request. Otherwise, it is impossible for the Court or the party

upon whom the discovery response is served to know exactly what objections

have been asserted to each individual request. All such general objections shall


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be disregarded by tlie Court.

      Finally, a party who objects to a discovery request but then responds to

the request must indicate whether the response is complete; i.e., whether

additional information or documents would have been provided but for the

objection(s). For example, in response to an interrogatory a party is not

permitted to raise objections and then state, "Subject to these objections and

without waiving them, the response is as follows . . ." unless the party

expressly indicates whether additional information would have been included

in the response but for the objection(s).

             ii.    Discovery Timing

      A l l discovery requests must be served early enough so that the responses

thereto are due on or before the last day of the discovery period. The Court

typically will not compel responses to discovery requests that were not served

in time for responses to be made before the discovery period ended.

             iii.   Discovery Disputes

      Prior to filing a discovery motion, the movant—after confening with the

respondent in a good faith effort to resolve the dispute by agreement—should

contact Ms. Kemp and advise her that the movant seeks relief with respect to a

discovery matter. Ordinarily, Ms. Kemp will request that each side submit a

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brief statement of the issues (no more than 3 pages). The Court will either

decide the matter based on the submissions, schedule a conference call with

counsel, or authorize counsel to file a formal motion.

      The Court is usually available by telephone to resolve objections and

disputes that arise during depositions. Counsel should call Ms. Kemp to

request that the Court hear the objections.

      c.     Consent Protective Confidentiality Orders and
             Filing Documents Under Seal

      The Court disfavors the excessive use of consent protective

confidentiality orders that allow counsel to designate documents, tangible

things, and information as "Confidential" and/or "Confidential - For

Attorney's Eyes Only." While the Court recognizes the legitimacy of such

orders in some cases, the Court's experience is that such orders are used—and

abused—^more often than truly necessary.

      As a guide to counsel, the Court notes that documents, tangible things,

and information ordinarily are not truly confidential unless they constitute

either (1) a "trade secret," as defined by Section 1(4) of the Uniform Trade

Secrets Act, or for cases applying Georgia law, O.C.G.A. § 10-1-761(4); (2)

personal identifying information, such as a Social Security number; or (3)


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personal health information protected by the Health Insurance Portability and

Accountability Act.

      I f the parties fmd that a consent protective confidentiality order is

necessary, the following language should be included (and shall be deemed

included) therein:

      Any documents (including briefs), tangible things, or
      information designated as Confidential that are submitted
      to the Court in support of or in opposition to a motion or
      introduced at a hearing or during trial may retain their
      protected confidential status only by order ofthe Court in
      accordance with the procedures outlined in section II.c.
      ofthe Court's Standing Order Regarding Civil Litigation.

      Those procedures are as follows. For documents filed other than during

a hearing or trial, counsel shall electronically file on CM/ECF a motion to seal

that lists the document(s) that counsel wants filed under seal and a proposed

order granting the motion. The documents that counsel wishes to be sealed

should be provisionally filed on CM/ECF, per the directions set out in

Procedures for Electronic Filing Under Seal in Civil Cases on the Court's

website under "Electronic Case Filing Info." (See also Appendix H to the

Local Rules.) Counsel should not send paper copies of the documents to

chambers or to the Clerk's office.

      For tangible things other than documents, the parties shall deliver the

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items to Ms. Kemp in cliambers along with a proposed order permitting the

tangible things to be filed under seal.

      d.     Brief Nomenclature

      Briefs should be titled and entered on CM/ECF as follows. The initial

brief of a movant should be titled "Brief in Support of [state the motion]." The

brief of the responding party should be titled "[name of respondent]'s Response

in Opposition to [state the motion]." The reply of the moving party should be

titled "Reply in Support of [state the motion]." Though surreplies should not

be filed in the normal course, if the Court authorizes a surreply, it should be

titled "[name of party filing the suiTeply]'s SuiTeply to [name of motion]."

      e.     Electronic Filing of Exhibits and Attachments

      The parties should make every effort to label all electronically uploaded

exhibits and attachments according to their content to assist the Court in

making its ruling. For example, the Court would prefer to have documents

uploaded as Ex. A: Smith Deposition, Ex. B: Employment Contract, and Ex. C:

Jones Letter, rather than Ex. A., Ex. B, and Ex. C.

      f.     Motions for Temporary Restraining Order or Preliminary
             Injunction

      Any request for a temporary restraining order or for preliminary


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injunctive relief must be made by separate motion. A request for temporary

restraining order or preliminary injunction found only in the complaint will not

be considered. After filing an appropriate motion, the movant must contact Ms.

Kemp to request expedited consideration.

      g.     Motions for Summary Judgment

             i.     Record References

      A l l citations to the record evidence should be contained in each party's

brief, not just in the party's statement of undisputed (or disputed) facts.

When filing a brief in support of or in opposition to a motion for summary

judgment, the party shall simultaneously file the original transcript of each

deposition referenced in the brief The party should include in the brief,

iimTiediately following the deposition reference, a citation indicating the page

and line numbers of the transcript where the referenced testimony can be found.

The party should also attach to the brief a copy of the specific pages of the

deposition that are referenced in the brief The party should not attach to the

brief a copy of the entire deposition transcript.

             ii.    Statement of Material Facts & Response

      In addition to following the form instructions set out in Local Rule

56.1(B), a party responding to a statement of material fact shall copy into its

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response document the numbered statement to which it is responding and

provide its response to that statement immediately following. A party that

chooses to reply to a response shall copy into its reply document its original

numbered statement of material fact and the opposing party's response, then

provide its reply to that statement immediately following. Each party shall file

its documents in text-searchable PDF format.

      h.     Requests for Oral Argument on Motions

      In accordance with the Local Rules, motions are usually decided without

oral argument, but the Court will consider any request for hearing. Moreover,

the Court shall grant a request for oral argument on a contested, substantive

motion i f the request states that a lawyer who is less than seven years out of

law school will conduct the oral argument on at least one substantial issue in

the case, it being the Court's belief that young lawyers need more opportunities

for Court appearances than they usually receive.

      i.     Proposed Findings of Fact and Conclusions of Law

      When counsel is required to submit proposed findings of fact and

conclusions of law, see LR 16.4(B)(25), NDGa, in addition to electronically

filing same, counsel should provide an electronic copy thereof in text-

searchable PDF format to the law clerk assigned to the case.

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       j.      Pretrial Order

       I f a motion for summary judgment is pending, the proposed consolidated

Pretrial Order ordinarily is required to be filed within thirty (30) days after the

entry of an order ruling on the motion for summary judgment, unless a specific

date is set.

       Before proposing voir dire questions to the Court, as required in the

Pretrial Order, the parties shall go to the district court's website at

www, gand.uscourts. gov. On the home page, locate the Individual Judge

Instructions tab and go to the link for Cases before Judge Story. Here the

Court has provided Background Jury Questions that are asked of prospective

jurors in all trials. The Court has also provided Qualifying Questions that will

be asked by the Court in civil trials. Also, written Juror Questionnaires are

routinely used in all trials, and the Court has provided the basic questions that

will typically be included in the Juror Questionnaire. Counsel, in their voir dire

requests, may request that additional questions be included in the Juror

Questionnaire. Please do not duplicate the questions from any of these formats

in your proposed voir dire.

       The statement of contentions in the Pretrial Order govems the issues to

be tried. In listing witnesses, or exhibits, a party may not reserve the right to

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supplement their list nor may a party adopt another parly's list by reference.

Witnesses and exhibits not identified in the Pretrial Order may not be used

during trial, unless it is necessary to allow it to be introduced to prevent a

manifest injustice.

      k.     Pretrial Conference, Motions in Limine, Daubert Motions

      The Court will conduct a pretrial conference. The purpose ofthe

conference is to simplify the issues to be tried and to rule on motions in limine

and Daubert motions.

      The parties are required, seven (7) days before the pretrial conference, to

identify in writing to the Court the specific witnesses they will call in their

case-in-chief at trial. This may be done by sending the list by email to Ms.

Kemp. The Court generally does not require the parties to bring with them to

the pretrial conference the exhibits to which there are objections. It is the

Court's practice to consider the admissibility of exhibits during trial when the

Court will have better context for ruling on the objections. I f counsel identifies

an issue that would affect the admissibility of a number of related exhibits,

such an issue may be addressed at the pretrial conference.

      Motions in limine and Daubert motions must be filed at least fourteen

(14) days before the pretrial conference. Responses to the motions are due

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             seven (7) days before the pretrial conference.

                   1.     Courtroom Technology

                   Our courtroom has various electronic equipment for use by counsel at

             trial. For more information on the equipment or to schedule an opportunity to

             test the equipment, please contact the Courtroom Deputy Clerk Ms. Kemp. It is

             the par-ties' responsibility to make sure they know how to use the available

             equipment, to have the cables necessary to hook up their equipment, and to

             ensure that their equipment will interface with the Court's technology.

                   Any pally or counsel without a blue attorney ID card issued through the

             U.S. Marshals Service who would like to bring into the courthouse electronic

             equipment, such as a laptop computer or cell phone with a camera, must submit

             to the Court a proposed order allowing the same. The proposed order should

             identify the electronic equipment, specify the date(s) of the hearing or trial to

             which the party or counsel desires to bring the equipment, and identify the

             courtroom to which the equipment will be brought. This should be done not

             less than three (3) business days prior to the hearing or trial to allow for proper

             notification to the U.S. Marshals Service.




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               so O RDERED, this            day of March, 2017.




                                            RICHARD W. STORY
                                            United States District Jud:




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